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                                          APPENDIX D
       Below is a list of other attorneys whom I, M. Anderson Berry of Clayeo C. Arnold, APC,

believe would be beneficial to leadership in this MDL.


   •   Gary M. Klinger of Milberg Coleman Bryson Phillips Grossman

       Gary M. Klinger is a highly experienced attorney, has led countless similar data breach

matters to resolution, and has a stellar reputation in working cooperatively with counsel (many of

whom are the prime candidates for leadership positions in the MDL) to achieve excellent results.


   •   William B. Federman of Federman and Sherwood

       Having worked closely with William B. Federman as co-counsel, lead counsel or

supporting counsel in many data breach cases, I think the Court and the Plaintiffs will be very well

served if he is appointed to a top management position where his skills will aid the Plaintiffs in

obtaining the best possible recovery while treating co-counsel fairly and equitably.


   •   John A. Yanchunis of Morgan & Morgan

       John A. Yanchunis is a highly experienced attorney, has led countless similar data breach

matters to resolution, and has a stellar reputation in working cooperatively with counsel (many of

whom are the prime candidates for leadership positions in the MDL) to achieve excellent results.
